08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 1 of 99


                                  EXHIBIT D

        SNR DENTON US LLP’S MONTHLY FEE STATEMENTS FOR THE
FINAL FEE APPLICATION PERIOD OF JANUARY 1, 2010 THROUGH MARCH 6, 2012
  08-13555-mg    Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                      Pg 2 of 99


                                     EXHIBIT D

        SNR DENTON US LLP’S MONTHLY FEE STATEMENTS FOR FIRST INTERIM
              PERIOD OF JANUARY 1, 2010 THROUGH SEPTEMBER 30, 2010




                                       -2-
10429360\V-4
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 3 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 4 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 5 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 6 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 7 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 8 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 9 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 10 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 11 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 12 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 13 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 14 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 15 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 16 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 17 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 18 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 19 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 20 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 21 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 22 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 23 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 24 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 25 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 26 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 27 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 28 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 29 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 30 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 31 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 32 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 33 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 34 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 35 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 36 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 37 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 38 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 39 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 40 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 41 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 42 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 43 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 44 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 45 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 46 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 47 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 48 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 49 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 50 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 51 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 52 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 53 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 54 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 55 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 56 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 57 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 58 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 59 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 60 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 61 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 62 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 63 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 64 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 65 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 66 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 67 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 68 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 69 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 70 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 71 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 72 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 73 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 74 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 75 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 76 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 77 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 78 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 79 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 80 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 81 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 82 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 83 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 84 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 85 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 86 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 87 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 88 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 89 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 90 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 91 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 92 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 93 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 94 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 95 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 96 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 97 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 98 of 99
08-13555-mg   Doc 29194-4   Filed 07/03/12 Entered 07/03/12 16:56:02   Exhibit D1
                                   Pg 99 of 99
